Case 1:18-cr-00457-AMD Document 158 Filed 05/11/20 Page 1 of 14 PageID #: 2112

                                                    U.S. Department of Justice


                                                    United States Attorney
                                                    Eastern District of New York
AAS:JN/DKK/SME                                      271 Cadman Plaza East
F. #2017R05903                                      Brooklyn, New York 11201

                                                    May 7, 2020

FILED PARTIALLY UNDER SEAL

By ECF and Email

The Honorable Ann M. Donnelly
United States District Judge
Eastern District of New York
225 Cadman Plaza East
Brooklyn, NY 11201

              Re:      United States v. Huawei Technologies Co., Ltd., et al.
                       Criminal Docket No. 18-00457 (S-3) (AMD)

Dear Judge Donnelly:

               The government respectfully submits this response in opposition to the motion
filed by defendants Huawei Technologies Co., Ltd., Huawei Device Co., Ltd., Huawei Device
USA Inc. and Futurewei Technologies, Inc. (collectively, “Huawei”) seeking the Court’s
authorization to downgrade more than 21,000 documents from Sensitive Discovery Material
(“SDM”) to regular Discovery Material (“DM”) under the protective order entered by the Court
on June 10, 2019, see ECF No. 57 (the “Protective Order”). See Huawei SDM Motion
(hereinafter “SDM Motion” or “SDM Mot.”), ECF No. 143. Although Huawei has refused to
provide these documents to the prosecution team—on the purported grounds that identifying
21,000 “most essential” documents would reveal its defense strategy—the little information that
Huawei has provided to the government is sufficient to establish that the SDM Motion should be
denied.

              First, the government had good cause to designate the more than 21,000
documents (the “SDM Materials”) as SDM. It did so to protect the
                                               and to ensure the SDM Materials would not be
misused outside of the jurisdiction of this Court.

               Second, the designations for the SDM Materials do not materially or substantially
restrict Huawei’s ability to defend itself in this matter because its employees can review these
materials—which constitute less than five percent of the government’s discovery to date—in the
United States and other jurisdictions on which the parties agree.




                                                1
Case 1:18-cr-00457-AMD Document 158 Filed 05/11/20 Page 2 of 14 PageID #: 2113




               Third, should the Court not deny the SDM Motion in its entirety, Huawei has not
shown that the government’s firewall counsel—rather than the prosecution team—should litigate
this motion. Specifically, Huawei cannot credibly argue that providing more than 21,000
documents to the prosecution team would reveal anything about Huawei’s “defense strategy”
that Huawei has not already revealed to the government and to the public. Moreover, proceeding
through firewall counsel alone would result in an inefficient use of judicial and governmental
resources.

I.      Background

               The Protective Order, entered nearly a year ago by this Court, was jointly
submitted by the parties after significant negotiation. The Protective Order includes three
categories of discovery: DM, SDM, and “Attorneys’ Eyes Only.”1

               Under the Protective Order, DM may be used by Huawei only in connection with
defending against the instant charges. (Protective Order ¶ 2). DM may be taken outside of the
United States and shared with potential witnesses and employees of Huawei as necessary for
Huawei’s defense. (Id. ¶ 5). Attorney work product obtained from DM may be retained by
witnesses’ counsel and Huawei employees’ counsel, but cannot be disclosed, disseminated or
discussed publicly. (Id.). Each witness and employee must sign Attachment A to the Protective
Order, indicating he/she understands the Protective Order. (Id.). An executed copy of
Attachment A, however, is provided only to Huawei’s defense counsel and not to the
government. (Id.). The DM cannot be shared with the media in any form. (Id. at ¶ 8).

                 The Protective Order provides extra protections to materials designated SDM.
That designation may be applied to “identifying information of any potential witness, victim or
individual not a party to this litigation; proprietary or sensitive information of a victim financial
institution or of a witness . . . information that could implicate the safety of others . . . and/or any
other information that the government deems in need of heightened protection under [the]
Protective Order.” (Id. ¶ 19). The Protective Order generally requires that SDM—and attorney
work product derived from SDM—be reviewed in the United States, and provides the option for
Huawei employees to seek safe passage to the United States for such review. (Id. ¶ 13). The
Protective Order also allows for the review of SDM outside of the United States upon agreement
of the parties. (Id. ¶ 14).

               To date, the government has made more than 20 productions of discovery
pursuant to the Protective Order. Those productions include more than 550,000 documents—
nearly five million pages—along with the contents of                        accounts,
       account, one laptop computer image, certain other electronic evidence and five Access
databases containing records for slightly more than 22,500 wire transactions. Approximately
500,000 documents, the laptop computer image, the electronic evidence and the Access
databases, were marked DM. Approximately 60,000 documents,                      accounts and the


        1
         The government has not yet designated any discovery under the most restrictive
category, Attorneys’ Eyes Only.

                                                   2
Case 1:18-cr-00457-AMD Document 158 Filed 05/11/20 Page 3 of 14 PageID #: 2114




               account were marked SDM. Therefore, SDM comprises approximately 12 percent
of the total discovery in this case.2

                  Since the entry of the Protective Order, the government has repeatedly attempted
to accommodate Huawei’s requests with respect to its designation of SDM, and continues to
discuss those requests with Huawei. (See SDM Mot. at 3). For example, the government has
already agreed to downgrade certain discovery from SDM to DM (see SDM Mot. at 3), including
the majority of emails with a Huawei sender or recipient, along with attachments, as Huawei
likely already had access to these materials from Huawei internal systems.3 In fact, on April 2,
2020, the government agreed to downgrade more than 450 documents previously marked SDM
that fit this criterion.4 The government has also agreed, on an ad hoc basis, that SDM may be
accessed from certain countries to which defense counsel was traveling for other business, and
that Huawei could review all SDM with counsel in Japan just a few months ago in November
2019. In connection with that agreement, the government provided a safe passage letter to
Huawei’s Chief Legal Officer Song Liuping for travel to Japan from November 18, 2019,
through November 25, 2019. Notably, though expressly contemplated under the Protective
Order, Huawei has never sought safe passage to the United States for any Huawei employees or
representatives to review SDM.

             In the SDM Motion, it appears that Huawei broadly seeks to downgrade
thousands of                                                 , which are not described. (See
SDM Mot. at 7). Huawei asserts that “[t]he[ records at issue] consist
                                                                  .” (SDM Mot. at 3).

               After Huawei filed the SDM Motion, the government asked Huawei to provide
the SDM Materials to the government for review, given that a collection of 21,000 documents
could not possibly reveal Huawei’s defense strategy in any detail. Huawei declined, stating that
those documents are “as a strategic matter, most essential to [its] defense,” and noting the
“compromise on [its] part” by not requiring the government to defend all of its SDM
designations under the Protective Order.




       2
         In its SDM Motion, Huawei represents that in its first 14 productions, the government
produced 476,313 documents and designated 256,804 (more than half of the documents) as
SDM. (See SDM Mot. at 5). It is not clear to the government how Huawei calculated these
figures. As discussed above, the SDM materials the government has produced in the more than
20 productions to date comprise a vastly smaller fraction of the discovery in this case.
       3
         To the extent certain communications with Huawei employees were initially marked
SDM, there was an independent reason for such designation. Nevertheless, at Huawei’s request,
the government reviewed its designations and agreed to compromise on some of them.
       4
         At Huawei’s request, the government is still considering the downgrading of more than
1,000 SDM documents included as part of its production of                   accounts,
referenced above.

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Case 1:18-cr-00457-AMD Document 158 Filed 05/11/20 Page 4 of 14 PageID #: 2115




II.    Legal Standard

                 As a general matter, courts may, “for good cause, deny, restrict, or defer
discovery or inspection, or grant other appropriate relief.” Fed. R. Crim P. 16(d)(1). Good cause
exists “when a party shows that disclosure will result in a clearly defined, specific, and serious
injury.” In re Terrorist Attacks on Sept. 11, 2001, 454 F. Supp. 2d 220, 222 (S.D.N.Y. 2006).
Any finding of injury “must be based on a particular factual demonstration of potential harm, not
on conclusory statements.” United States v. Smith, 985 F. Supp. 2d 506, 523 (S.D.N.Y. 2013)
(internal citations omitted).

                The “specificity required in a showing of good cause varies with the scope and
complexity of a case.” In re Terrorist Attacks on Sept. 11, 2001, 454 F. Supp. 2d at 222. In
“cases of unusual scope and complexity . . . broad protection during the pretrial stages of
litigation may be warranted without a highly particularized finding of good cause.” Id. (finding
good cause where discovery would encompass an “enormous” number of documents containing
“sensitive or confidential information” despite recognizing that, “[u]nder normal circumstances,
such broad assertions of good cause would be too generalized to support imposition of a
protective order”). This loosened standard is based on the recognition that, in highly complex
cases, requiring a particularized showing “could impose an enormous burden upon the Court and
severely hinder its progress toward resolution of pretrial matters.” Id. at 223.

                A decision to limit access to discovery under Rule 16(d)(1) is left to the sound
discretion of the district court, and will not be disturbed on appeal absent a showing that “the
substantial rights of the defendant have been prejudiced.” United States v. Coiro, 785 F. Supp.
326, 330 (E.D.N.Y. 1992) (Glasser, J.); see also In re Terrorist Bombings of U.S. Embassies in
E. Afr., 552 F.3d 93, 122 (2d Cir. 2008) (noting that Rule 16(d) grants district courts the
discretion to establish conditions “under which the defense may obtain access to discoverable
information”); United States v. Delia, 944 F.2d 1010, 1018 (2d Cir. 1991) (noting that because
the language of Rule 16(d)(1) “is . . . permissive,” the district court may “limit or otherwise
regulate discovery had pursuant to the Rule”). The Advisory Committee Notes to the 1966
Amendments to the Rules make clear that “[a]mong the considerations to be taken into account
by the court will be the safety of witnesses and others, a particular danger of perjury or witness
intimidation, the protection of information vital to the national security, and the protection of
business enterprises from economic reprisals.”

III.   Argument

                The SDM Motion should be denied because there is good cause for designating
the SDM Materials as such—to prevent their misuse outside of this Court’s jurisdiction.
Moreover, the SDM designations do not materially or substantially restrict Huawei’s ability to
defend itself in this matter. Lastly, Huawei has failed to demonstrate that the government’s
firewall counsel, instead of the prosecution team, should litigate the SDM Motion.




                                                 4
Case 1:18-cr-00457-AMD Document 158 Filed 05/11/20 Page 5 of 14 PageID #: 2116




       A.        Good Cause Exists for the SDM Designations

                As discussed in the government’s prior filings related to the propriety of SDM
designations (see Gov’t SDM App., Aug. 1, 2019, ECF No. 81 at 4-5 (“SDM Application”)), the
government has justifiably designated materials as SDM in order to avoid having sensitive
emails and other documents sent outside of the jurisdiction of the United States, where they
could be misused and where the government and this Court have no ability to enforce the terms
of the Protective Order.

                The government’s concerns are particularly acute with respect to the People’s
Republic of China (“PRC”), where Huawei is headquartered.5 The PRC government—as well as
the state-influenced PRC media—has demonstrated significant interest in this case. See Ex. B at
8-9. Indeed, recent press reports suggest that the PRC government has shown a willingness to
take actions that appear designed to defend Huawei from the allegations in this case. For
example, on April 25, 2020, The New York Times published a troubling account of five former
Huawei employees who were arrested by PRC authorities in December 2018 after engaging in a
WeChat6 group communication where one former employee stated that he could “prove that
Huawei sold [equipment] in Iran.”7 The conversation took place less than two weeks after
Huawei’s Chief Financial Officer and daughter of its founder Ren Zhengfei, Meng Wanzhou,
was arrested in Canada, and after the government’s initial indictment was unsealed. Two of the
former employees were interviewed by The New York Times, and both reported that PRC
authorities “questioned them about Iran and asked why they had been in contact with foreign
news outlets, both topics they had discussed on WeChat.” Id. One of the men reported that he
was told that he had “crossed a line” by discussing Huawei’s Iranian business.8 Id. The two men
who spoke to The New York Times spent eight and three months in custody, respectively. Id.
Based on this reporting, it appears that the men were possibly arrested, at least in part, as a result
of potentially innocuous statements they made about Huawei’s ties to Iran in a private chat
group.9

       5
         See Gov’t Ex Parte Ltr. Regarding SDM Designations, Aug. 1, 2019, attached hereto as
Exhibit A; see also Gov’t Ex Parte Ltr. Regarding Discovery, June 18, 2019, attached hereto as
Exhibit B. Both letters further explain the government’s concerns.
       6
           WeChat is a messaging and social media mobile application that is widely used in the
PRC.
       7
          See Raymond Zhong, Jailed Huawei Workers Raised a Forbidden Subject: Iran, The
New York Times, April 25, 2020, available at:
https://www.nytimes.com/2020/04/25/technology/china-huawei-iran
arrests.html?action=click&module=News&pgtype=Homepage (last visited May 6, 2020).
       8
           Notably, not all sales of telecommunications equipment in Iran are illegal.
       9
          The article also described the PRC’s strong interest in Huawei’s affairs, and its
persistent defense of Huawei “as if it were a strategically vital state asset,” including threats of
retaliation by PRC officials. Id. Moreover, following Meng’s arrest in Canada, it was widely
reported that the PRC government engaged in diplomatic efforts to free Meng and had arrested a
                                                  5
Case 1:18-cr-00457-AMD Document 158 Filed 05/11/20 Page 6 of 14 PageID #: 2117




                If true, the allegations in this news article indicate that the PRC government may
take actions to intervene on behalf of Huawei in the context of this criminal case. This reported
conduct reinforces the government’s concerns that, should sensitive documents be made
available to Huawei in China, there is a significant likelihood that they may be misused in ways
that could adversely affect the government’s


                 Furthermore, should the SDM Materials be provided to Huawei in the PRC, the
government and this Court would have no ability to monitor the dissemination of those
documents or take action to control leaks to the media. See United States v. Internet Research
Agcy. LLC, 18-CR-32-2 (DLF), ECF No. 94 (D.D.C.) (detailing how documents produced by
the Special Counsel’s Office, pursuant to Rule 16 and a protective order, to a Russian corporate
defendant were disseminated in a manner inconsistent with the protective order, and at times
altered, as part of a disinformation campaign to discredit the Special Counsel’s investigation). In
the United States, the government has the ability to seek legal recourse against violations of the
Protective Order. In contrast, in the PRC—a jurisdiction where the Protective Order has no
force—Huawei could be compelled to release the documents in response to a government
demand or for any other reason.10

                Moreover, the government’s concerns here fit squarely within the categories
identified in the Protective Order for SDM as meriting extra protections: “identifying
information of any potential witness, victim or individual not a party to this litigation;
proprietary or sensitive information of a victim financial institution or of a witness . . .
information that could implicate the safety of others.” (Protective Order at ¶ 19). As the Court
observed during oral argument on the previous SDM motion, the government’s concerns—



number of Canadian citizens in apparent retaliation for Meng’s arrest. See, e.g., Zhou Xin,
Beijing Blames Canada for Huawei arrest and Threatens ‘Grave Consequences for Hurting
Feelings of Chinese People’, South China Morning Post, December 9, 2018, available at:
https://www.scmp.com/news/china/diplomacy/article/2177091/beijing-blames-canada-huawei-
arrest-and-threatens-grave (last visited May 6, 2020); Anna Fifield, Canadian Analyst Held in
China Is Kept in a Cell With Lights Always On, The Washington Post, December 21, 2018,
available at: https://www.washingtonpost.com/world/asia_pacific/detained-canadian-analyst-
kept-in-chinese-cell-with-lights-always-on/2018/12/21/451b2d72-0506-11e9-9122-
82e98f91ee6f_story.html (last visited May 6, 2020); Anna Fifield and Jeanne Whalen, Canadians
detained in China after Huawei Arrest Have Now Spent a Year in Custody, The Washington
Post, December 10, 2019, available at: https://www.washingtonpost.com/world/canadians-
detained-in-china-after-huawei-arrest-have-now-spent-a-year-in-custody/2019/12/10/3a55cd4c-
1af0-11ea-977a-15a6710ed6da_story.html (last visited May 6, 2020).
       10
          As indicated above, the government is unaware of any PRC-based Huawei employee
appearing in Court, or seeking “safe passage” to come to the United States to review SDM. (Id.
at ¶ 14). This was equally true before the current COVID-19 health crisis.

                                                 6
Case 1:18-cr-00457-AMD Document 158 Filed 05/11/20 Page 7 of 14 PageID #: 2118




predominantly with access to the information by individuals and entities other than defense
counsel and the defendants—are legitimate. (See Sept. 4, 2019 Hr. Tr. at 36-37).

                 As relevant to the SDM Motion, it appears that many of the SDM Materials are

                                                                                    (See SDM
Mot. at 3, 7.)




                                            Moreover, the information has other
                                          Should such information fall into the wrong hands, it
could be used to negatively affect                         in a number of ways, including by




               The other SDM produced by the government is also illustrative,11 especially
                                                                  2
because the prosecution team is not aware of what                   Huawei seeks to downgrade
(see SDM Mot. at 7): (1) the                       accounts and                    account
referenced above, which were the subject of extensive briefing previously (see, e.g., SDM
Application, ECF No. 81), and (2)                                                     documents




        11
        The government has highlighted the larger volumes of production here. There are
some smaller categories of documents produced as SDM that are not included above.
        12
          To the extent the Court grants the government access to the more than 21,000 SDM
Materials at issue, the government may supplement this response as to these

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Case 1:18-cr-00457-AMD Document 158 Filed 05/11/20 Page 8 of 14 PageID #: 2119




             Like the documents from                               these documents were properly
designated SDM. Notably,




                                                         As discussed at length in the
government’s initial SDM Application, such documents require heighted protection. (See SDM
Application, ECF No. 81, and Reply Letter Regarding SDM Application, Aug. 23, 2019, ECF
No. 92); see also Smith, 985 F. Supp. 2d at 524-25 (noting that courts have recognized the
particular need to protect the                                when entering protective orders).

              The disclosure of the above-described documents beyond Huawei could lead to
undue pressure
               See United States v. Bundy, 16-CR-46, 2016 WL 7030431, *3 (D. Nev. Nov.
30, 2016)

                             . Such disclosure could also lead to the dissemination of
                                     , and could result in a
                         See, e.g., Alcon Vision, LLC v. Lens.com, Inc., No. 18-CV-407
(RLM), 2019 WL 8197769, at *2 (E.D.N.Y. Aug. 22, 2019)

                                                  ; United States v. Carriles, 654 F. Supp.2d 557,
567 (W.D. Tex. 2009) (holding that it was well-settled that economic harm is an appropriate
purpose for a protective order); see also Advisory Committee Notes to the 1966 Amendments to
Rule 16 (stating that “[a]mong the considerations to be taken into account by the court will be
the safety of witnesses and others, a particular danger of perjury or witness intimidation…and
the protection of business enterprises from economic reprisals.”).

                Notably, the defendants cite no authority suggesting that the SDM designations are
improper. While the government does not dispute that it needs to establish “good cause” and a
particularized showing that disclosure of the materials sought to be protected could cause potential
harm, see, e.g., Smith, 985 F. Supp. 2d at 523, such a showing has been made here for the reasons
discussed above. Significantly, none of the cases cited by Huawei (see SDM Mot. at 6-7, 10-11)
addresses the situation in this case, in which a defendant seeks to take sensitive discovery outside
of the United States and the jurisdiction of the Court, and particularly to the PRC. Moreover, in
cases, such as this one, with an extremely broad scope and complexity, broad protection during
the pretrial stages of litigation may be warranted without a highly particularized finding of good
cause. See In re Terrorist Attacks on September 11, 2001, 454 F. Supp. 2d at 222-223 (entering




                                                 8
Case 1:18-cr-00457-AMD Document 158 Filed 05/11/20 Page 9 of 14 PageID #: 2120




protective order in a multi-district litigation with unusual scope and complexity without a showing
of good cause).

               Huawei’s other arguments about the propriety of the SDM designations lack merit.

                Huawei asserts that the protections afforded documents designated DM would be
sufficient to protect the SDM Materials outside of the United States. See, e.g., SDM Mot. at 1.
Regardless of the protections afforded to DM materials, those protections do not address the
government’s concerns about SDM leaving the United States.

               Nor does Huawei’s assertion that it has, to date, respected the restrictions in the
Protective Order address the government’s concerns. Because no SDM documents have been
provided to Huawei in the PRC (as far as the government is aware), there has been no occasion
for these documents to be misused in the ways described above. More importantly, Huawei is
expected to follow the terms of the Protective Order. It does not logically follow that Huawei’s
compliance to date should necessarily lead to the downgrading of information the government
deems sensitive.

                Furthermore, Huawei mischaracterizes the government’s position regarding SDM
designations, alleging that the government has repeatedly justified SDM designations by
asserting only that the documents “are              documents” or “discovery that is obtained
from a                  (See SDM Mot. at 3, 10). To the contrary, the government has produced
hundreds of thousands of documents provided by                , including documents from
                              as DM. Although the government has argued that the contents of
certain                   accounts and a             account should be deemed SDM, in large
part, because those accounts contained
            , the government has never made the blanket assertion that documents should be
deemed SDM merely because they contain                information. Moreover, as discussed
above, the basis for designating the                                             SDM is simply
not because they were                            ”14

               Finally, Huawei’s assertion that the government initially designated
communications to and from Huawei email addresses as SDM—in an effort to portray the
government’s SDM designations as too broad—is unhelpful. (See SDM Mot. at 3 n.3.) The
government has never argued that all communications to and from Huawei email addresses
should be deemed SDM. To the extent certain communications with Huawei employees were
initially marked SDM, there was generally an independent reason for such designation, including


       14
          Huawei asserts, by citing to two government press releases in this case, that “the
government has, itself, already chosen to selectively disclose choice examples of the
documents—or information derived therefrom—in its Indictments, press releases, and other
public statements—and obviously plans to disclose more of them at trial.” (SDM Mot. at 11).
Huawei has not provided any specific examples where SDM was disclosed. To the extent the
government has referred to SDM at any point during this litigation, those references were
anonymized.

                                                 9
Case 1:18-cr-00457-AMD Document 158 Filed 05/11/20 Page 10 of 14 PageID #: 2121




                                  accounts. Furthermore, the government has worked with
 Huawei to downgrade documents where the parties agree that such action is appropriate.

                For the reasons stated above, the government’s SDM designations are appropriate
 under the Protective Order and should continue to be enforced with respect to the SDM
 Materials.

        B.      The Defendants Have Failed to Show Prejudice

               Huawei also fails to establish how its defense will be substantially prejudiced
 unless the SDM Materials are re-designated as DM.

                 At issue is not whether Huawei can access SDM—it can. Huawei employees in
 the United States can review those materials freely, and defense counsel already shared a
 significant volume of SDM with Huawei’s PRC-based employees in Japan several months ago.
 In fact, Huawei had the opportunity to review nearly all of the SDM in the 14 productions at
 issue in this SDM Motion while in Japan.15

                  Huawei can also share in the PRC all DM, including all communications between
 financial institution employees and Huawei and transactional information about the charged
 conduct. It is hard to imagine how these documents are not extremely relevant to Huawei’s
 defense given the charges at issue here—bank fraud and wire fraud, which involve affirmative
 misstatements or omissions by Huawei and its co-conspirators. Huawei can also discuss topics
 related to SDM in the PRC, including by interviewing witnesses about information and events
 referenced in SDM.

                 Huawei’s claim of prejudice relates only to the restriction that 21,000 SDM
 documents—which Huawei characterizes as “most important” to its case—cannot be reviewed in
 the PRC. It defies credulity that what appear to be more than 21,000
 records                                                          , are “most important” or “key” to
 Huawei’s defense. This is especially so when Huawei has access in the PRC to all of the
 communications between the financial institutions, other companies, such as                 and
 Huawei, as well as financial transactions, which have been produced to Huawei as DM, as well
 as materials already in Huawei’s possession with these institutions or companies. That said,
 without having the opportunity to review the SDM Materials, the government does not disregard
 the possibility that some of the SDM Materials could be helpful to Huawei to evaluate the
 strength of the government’s case against it. But that goal can be accomplished by other means,
 including through review of the documents outside the PRC, whether in the United States or
 elsewhere as agreed to by the parties, and by more generalized discussions with counsel, to the
 extent necessary.



        15
            As discussed above, Huawei sought safe passage for a meeting in Japan the week of
 November 18, 2019, at which point, it was in possession of 13 of the 14 document productions at
 issue in the SDM Motion.

                                                 10
Case 1:18-cr-00457-AMD Document 158 Filed 05/11/20 Page 11 of 14 PageID #: 2122




                Notably, the government has engaged in numerous discussion with defense
 counsel regarding the government’s SDM designations. In a measure of good faith, the
 government has offered to consider downgrading certain SDM documents that Huawei deemed
 inappropriately designated, and to consider re-reviewing certain categories of SDM documents in
 order to preserve Huawei’s defense strategy. The government has even offered to consider
 redactions to certain documents in order to downgrade their SDM status, such as
 documents containing                                             so that the documents could be
 provided to Huawei in the PRC. However, Huawei has only once made a request to the
 government with respect to the proposed compromise. As a result, the government agreed to
 downgrade several hundred documents, and is still considering whether to downgrade more than
 1,000 other documents.

                 Huawei also argues that the SDM restrictions prevent it from discussing large
 portions of the discovery with their attorneys by phone, email or at their offices in the PRC. (See
 SDM Mot. at 5, 9). Of course, counsel is not prevented from discussing the documents with
 Huawei and its in-house counsel. Huawei is free to discuss both factual developments and
 strategy with its lawyers and with potential witnesses. Nor is counsel prevented from asking
 questions resulting from their review of SDM to in-house lawyers at Huawei or witnesses in the
 PRC by whatever method of communication they choose. Counsel can also share legal
 memoranda evaluating the strengths or weakness of Huawei’s case to the extent it does not
 contain SDM.

                 The Court should similarly reject Huawei’s contention that discussing SDM
 outside of the United States, such as during the trip to Japan, is “difficult and expensive.” (See
 SDM Mot. at 9). First, Huawei entered into the Protective Order understanding the restrictions
 that would apply to discovery, including SDM restrictions, and undoubtedly considered the cost
 that would result from having its employees travel to the United States to review SDM. Those
 costs are not significantly greater for counsel’s travel to Japan, and certainly no greater than the
 cost of travel Huawei incurs each time its attorneys travel to the PRC to meet with Huawei.
 Regardless of how small a volume of SDM documents Huawei anticipated, it was on notice that
 some volume of SDM discovery would require review in the United States. Moreover, Huawei
 has retained at least six large U.S. law firms to represent it in this matter, and at least 14 law firm
 partners have been involved in this case, along with countless other attorneys. At least ten
 attorneys from those firms have attended the status conferences in this case alone. It is
 unpersuasive that Huawei cannot bear the cost of travel in this case to review what it claims to be
 “the most important materials for Huawei’s defense.” (SDM Mot. at 3).

                 Nor is Huawei’s claim that it has “compromised” by asking to downgrade only
 the “most important” materials persuasive. This “compromise” consists of downgrading all
 SDM that Huawei deems important. However, SDM designations cannot be made based on
 what is important to Huawei. To the contrary, documents that may be “most important” to
 Huawei may implicate all the concerns discussed above that justify the SDM designation. In
 analyzing whether the SDM Materials should remain so designated, the relevant considerations
 are: (1) whether the SDM Materials are properly designated SDM and (2) whether there is a
 process in place for Huawei to review the SDM Materials in order to participate in its defense.
 That is the case here.

                                                   11
Case 1:18-cr-00457-AMD Document 158 Filed 05/11/20 Page 12 of 14 PageID #: 2123




                 In sum, the SDM Materials identified by Huawei constitute less than five percent
 of the total volume of documents produced in this case. Even under Huawei’s belief that SDM
 designations were to be “relatively rare” (SDM Mot. at 2), it was completely reasonable and
 foreseeable that at least five percent of the discovery in this case would be designated
 SDM. Huawei nevertheless agreed to the terms of the Protective Order. Accordingly, Huawei—
 which is currently permitted to review 100 percent of the discovery produced in this case—has
 not suffered substantial prejudice because of the government’s SDM designations.16

        C.      Firewall Counsel Should Not Litigate the SDM Motion

                Huawei has refused to provide the SDM Materials to the prosecution team on the
 grounds that doing so would reveal “defense strategy.” (See SDM Mot. at 4). Instead, Huawei
 has provided those documents to the government’s firewall team for review, and has asked that
 firewall counsel litigate the SDM motion. (See SDM Mot. at 4, 11-12). This request should be
 denied. To the extent the Court does not deny the SDM Motion outright, the documents should
 be provided to the prosecution team for its review.

                 As an initial matter, Huawei has failed to explain how its defense strategy could
 possibly be revealed by a review of so many documents. Moreover, Huawei has already
 revealed its defense strategy to the government (and to the public). For example, Huawei’s letter
 pursuant to Brady v. Maryland, 373 U.S. 83 (1963), dated February 10, 2020 (see ECF No. 117)
 (“Brady Letter”) claims, among other things, that

                        (See Brady Letter at 2-3). Similarly, in this SDM Motion, Huawei states
 that the documents it seeks to downgrade from SDM to DM


                                                                       (SDM Mot. at 7-8). In
 other words, Huawei’s defense strategy is to blame the victims, arguing that the financial
 institutions knew, among other things, that Huawei actually operated Skycom as an unofficial
 subsidiary.17



        16
            Huawei claims that “[t]ravel restrictions caused by the COVID-19 pandemic prevent
 client personnel from traveling from the [PRC] to the United States to review SDM,” making the
 SDM designations “more severe.” (SDM Mot. at 2). Such concern is premature. The
 restrictions have only been in place for a short time and it is unclear how long they will last. As
 discussed above, prior to the travel restrictions, counsel was able to meet with their clients in
 Japan to review and discuss SDM. It is therefore likely that defense counsel can follow similar
 procedures, which the government has already agreed to, when the instant health crisis abates.
        17
           Setting aside that the evidence does not support this defense, such evidence would not
 be exculpatory (see SDM Mot. at 8), and would not be a defense to fraud. See, e.g., United
 States v. Corsey, 723 F.3d 366, 373-74 (2d Cir. 2013) (reliance by victim not element of mail or
 wire fraud); Bank of China, New York Branch v. NBM LLC, 359 F.3d 171, 178 (2d Cir. 2004)
                                                 12
Case 1:18-cr-00457-AMD Document 158 Filed 05/11/20 Page 13 of 14 PageID #: 2124




                 Huawei’s approach in seeking that firewall counsel review more than 21,000
 documents also is unreasonable. Firewall counsel played no role in designating the documents
 SDM in the first instance, and, by definition, has not been actively litigating this case. Review of
 the 21,000 documents would likely take several months, to be followed by potential Court
 intervention to resolve thousands of discrete disputes over documents between firewall counsel
 and Huawei.18 And, even if the Court were to agree to downgrade certain documents, the
 prosecution team would have to ultimately be informed about any such documents for case
 management purposes and trial administration.

                To the extent the Court does not deny the SDM Motion outright, the prosecution
 team should have the opportunity to review the SDM Materials in order to respond to the SDM
 Motion most effectively. Moreover, while telling the government that the SDM Materials
                                                                    (SDM Mot. at 3), the
 defendants fail to provide the prosecution team with any further breakdown or characterization
 of the documents. The prosecution team is left to surmise, as is evident throughout this response,
 about the potential categories                                that comprise the extremely large
 number of SDM Materials. While the prosecution team believes it should have access to all the
 SDM Materials that Huawei seeks to downgrade, at the very least, Huawei must share with the
 prosecution team the categories of SDM Materials it seeks to downgrade.

                For the above stated reasons, the prosecution team, not firewall counsel, should
 litigate the SDM Motion and have access to all the documents that Huawei seeks to downgrade.19

                                          *       *       *

                For the foregoing reasons, the SDM Motion should be denied. In the alternative,
 the government should have an opportunity to review and address the SDM Materials and
 supplement its response.




 (“In a criminal bank fraud prosecution, the Government need not prove that any individual or
 institution relied on the defendant’s purported misrepresentations . . . .”)
        18
         If Huawei had asked to downgrade, or redact, a few hundred documents, then the
 involvement of firewall counsel could be appropriate.
        19
           The government has provided a copy of this response to firewall counsel, and asked
 that firewall counsel share anything else with the Court that may be relevant to the Court’s
 consideration of Huawei’s SDM Motion at this stage. If the Court denies the government access
 to the SDM Materials, the government respectfully requests time for firewall counsel to review
 the documents and file a supplemental response to the SDM Motion.

                                                 13
Case 1:18-cr-00457-AMD Document 158 Filed 05/11/20 Page 14 of 14 PageID #: 2125




 IV.    Sealing

               The government respectfully requests that an unredacted version of this
 submission be filed under seal, with a copy to defense counsel, because this submission discusses
 information derived from SDM. The government requests permission to file a publicly redacted
 version removing relevant references to SDM on the public docket by Monday, May 11, 2020.

                                                     Respectfully submitted,

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                                                14
